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    Civil Action No. 2:24-cv-456

                                                          PROOF OF SERVICE
                         (This sectio11 should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

              This summons for (nameofindividual and title, if any)           I5ort>~ jl... o        ;v1 j Jlo..~
   was received by me on (date)              3 / 2-          / l O 1. 'f
                  I personally served the summons on the individual at (place)
                                                                                      on (date)                            ; or

                 I left the summons at the individual's residence or usual place of abode with (name)
                                                                       , a person of suitable age and discretion who resides there,
            ---------------
             0 n (date)                    , and mailed a copy to the individual's last known address; or
                        -------
            .al I served the summons on (name ofindividual) 3efPAJam.r,, GJe f:.,,.C,r<e,,,,,"t {)J;/J,er                           , who is
              designated by law to accept service of process on behalf of (name oforganization)
               .&ti(llujl.,_ .o-f M Jfa.,.._ j
                                            1'                                        on (date)    J / 2.'t, /z. cJ 2!-f   ; or

                I returned the summons unexecuted because                                                                                ; or

                Other (specify):



           My fees are$                              for travel and $                      for services, for a total of$          0.00

           I declare under penalty of perjuiy that this information is true.


 Date:



                                                                                                Printed name and title



                                                                                                                     b
                                                                           ?-, Io 5) xf Ave.n c..e.., PJ.f6 vr1 l Po..             W22.2, f.,;./e 2~
                                                                                                  Servel's address

Additional information regarding attempted service, etc:
